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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

    UNITED STATES OF AMERICA                                                  PLAINTIFF

                v.                Civil No. 07-50051

    DOUGLAS J. HAASE, MICHAEL G.
    CRAGAN, and MICHELLE LYNN CRAGAN                                       DEFENDANTS


                                         O R D E R

          Now   on   this      8th   day    of    August,    2007,     come    on      for

    consideration the government's Motion To Seal (document #22);

    Motion To Seal (document #23); and Motion To Seal (document #24),

    and the Court, being well and sufficiently advised, finds that

    said motions should be, and same hereby are, granted.

          IT IS THEREFORE ORDERED that the government may withdraw the

    Informations filed as to each of the named defendants in this

    case, replace those Informations with redacted copies, and file

    the original Informations under seal.

          IT IS SO ORDERED.

                                                  /s/ Jimm Larry Hendren
                                                 JIMM LARRY HENDREN
                                                 UNITED STATES DISTRICT JUDGE
